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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA

 BABY DOE, et al.,                                           )
                                                             )
                     Plaintiffs,                             )
                                                             )
 v.                                                          )              Case No. 3:22-cv-00049-NKM
                                                             )
 JOSHUA MAST, et al.,                                        )
                                                             )
                     Defendants,                             )
                                                             )
 and                                                         )
                                                             )
 UNITED STATES SECRETARY OF                                  )
 STATE ANTONY BLINKEN, et al.,                               )
                                                             )
                     Nominal Defendants.                     )
                                                             )

                                   MOTION TO DISMISS PURSUANT TO
                                       FED. CIV. R. 12(b)(1) & (6)

           Now comes Defendant Richard L. Mast, and hereby moves this Court to dismiss the above

 captioned action pursuant to Rule 12(b)1 1 of the Federal Rules of Civil Procedure as this Court is

 without jurisdiction and under Rule 12(b)6,2 as Plaintiffs have failed to state a claim upon which

 relief can be granted. This Motion is more fully supported in the Memorandum below, incorporated

 herein by reference. Respectfully submitted,

                                                              /s/ Richard L. Mast
                                                             Richard L. Mast
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 1   Rule 12(b)1 provides a defense for “lack of jurisdiction over the subject matter.”
 2   Rule 12(b)6 provides a defense for “failure to state a claim upon which relief can be granted.”
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                         DEFENDANT RICHARD L. MAST’S
                MEMORANDUM IN SUPPORT OF HIS MOTION TO DISMISS
               THE AMENDED COMPLAINT UNDER RULES 12(B)1 AND 12(B)6

 I.        INTRODUCTION

           Defendant Richard Mast incorporates by reference the Motion to Dismiss the Amended

 Complaint filed by Defendants Joshua and Stephanie Mast and the Memorandum In Support

 thereof, and its exhibits, including the facts of this case and legal arguments as set forth therein.

           In 2019, Defendant Richard Mast (along with dozens – if not hundreds – of Americans in

 and out of uniform - including other attorneys) tried to help a vulnerable child who had

 miraculously survived a

                                                                            .

           Defendant Richard L. Mast (and other attorneys) volunteered to help this child at no cost,

 representing Defendants Joshua and Stephanie Mast in their efforts. Pecuniary gain was not a

 consideration; securing adequate medical care and saving an innocent human being from known

 dangers was the sole consideration. The sole legal identity created for Baby Doe saved not only

 her from the evils of life under the Taliban – it saved numerous others – including Plaintiffs John

 and Jane Doe. The fact that the Does are here in America today is a result of the countless hours

 invested by these Americans at no charge to the Does.

           Plaintiff John Doe was informed by Major Joshua Mast prior to leaving Afghanistan of

 Major Mast’s relationship and legal responsibility for the child now styled “Baby Doe.” John Doe

 knowingly used Baby Doe’s legal identity to come to America because he saw no future in

 Afghanistan.3 Jane Doe’s testimony shows she came to America with full knowledge of the Masts’

 legal claims and intentions to care for Baby Doe as their own – but Jane Doe agreed to come only



 3   See Virginia Circuit Court Transcript Pg. 894-895.
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 when John Doe separately promised her they would no longer send Baby Doe to live with the

 Masts as previously agreed — a fact John Doe never shared with the Masts until John Doe had

 gained what he wanted.4 And in response to the selfless actions of Major Joshua Mast – and the

 undersigned – Plaintiffs John and Jane Doe have now filed their fourth lawsuit – this time in federal

 court. Plaintiffs’ first suit has been dismissed. Their third suit has been dismissed. This instant

 fourth suit (here in the Western District of Virginia) should be dismissed, as John and Jane Doe

 have already chosen their (only) path in a Virginia Circuit Court proceeding that has been ongoing

 for almost 11 months. A substantial amount of evidence has been submitted to the Circuit Court,

 including 9 days of testimony.

           On Friday, November 11, 2022, the Circuit Court ruled on a series of threshold issues,

 holding that the Does did not present evidence that they were Baby Doe’s biological family or

 legal guardians under Afghan law, and that they had not established any fraud on the Circuit Court

 or by the Masts to the Does. The Circuit Court held that Va. Code Ann. § 63.2 -1216 should bar

 the proceedings but declined to enforce the statute. The Circuit Court specifically refused to vacate

 the adoption order at this stage. The Circuit Court indicated that a written order is forthcoming and

 that the court will certify the § 63.2-1216 for interlocutory appeal. In this action—which was filed

 in apparent dissatisfaction with those sealed state-court proceedings—the Does make public the

 accusations they made in the Circuit Court. Notably among their many outrageous claims, the

 Does have in this Amended Complaint dropped the claim from the first Complaint that Joshua



 4
     See Virginia Circuit Court Transcript, Pg. 262-263.




 Tr. Pg. 898.

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 Mast “assaulted” John Doe. The Does now ask this Court to issue declarations to circumvent the

 state-court proceedings. 5 This Court should decline that invitation.

           In 2019, Defendant Richard Mast relied upon

 evidence presented to this Court for his good faith belief that Baby Doe had no family in

 Afghanistan, because she was

                                     . Baby Doe was recovered after a battle by U.S. Special Forces

 against                                          group under circumstances completely different from

 those described by Plaintiff John Doe in his various lawsuits, his own testimony, and in this

 Amended Complaint. For purposes of Rule 12(b)(6), the Court must take the plaintiffs’ well-

 pleaded factual allegations as true, see, e.g., Uncork & Create LLC v. Cincinnati Ins. Co., 27 F.4th

 926, 930 (4th Cir. 2022), but the undersigned seeks to provide relevant context for the jurisdictional

 and abstention issues presented here and by counsel for Joshua and Stephanie Mast.

           On February 26, 2020, this Court was in the unenviable position of handling an emergency

 temporary restraining order (TRO) hearing brought by the undersigned Defendant Attorney

 Richard L. Mast. The U.S. Government admitted it had made no determination that the claimant

 at the time was at all related to Baby Doe. When specifically asked by this Court if the “Department

 of State ha[d] determined that the person seeking custody [was] the relative of this child,” the

 response for the United States was that “the State Department’s position is that under international

 law, it’s for the government of                  to make that determination,” 6 despite all of the facts

 indicating Baby Doe was                                     , and despite the State Department’s 2019

 Report characterizing the now-defunct “Government of the Islamic Republic of Afghanistan”




 6 See TRO Hearing Transcript, Baby L. v. Esper, et al. Case 3:20-cv-00009-NKM Document 27-2 Filed 07/02/20
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 (“GIROA”) as being subject to significant “corruption; lack of accountability and [lack of]

 investigation…sexual abuse of children, including by security force members and educational

 personnel; trafficking in persons” and much more. 7 The State Department noted, “Widespread

 disregard for the rule of law and official impunity for those responsible for human rights

 abuses were serious, continuing problems. The government [of Afghanistan] did not prosecute

 consistently or effectively abuses by officials…”8 (Emphasis added). Attorneys for the nominal

 U.S. Government defendants now have access to the testimony of the Special Operators who

 recovered Baby Doe; along with all of the classified and unclassified information they need, to

 definitively know the truth about Baby Doe’s origins.



                                                                                             .9

            Major Joshua Mast was not at that 2020 TRO hearing before this Court to testify, because

 of a requirement to meet with a General on that workday. There was no witness testimony at that

 hearing. By the time of the TRO hearing, the Assistant Secretary of Defense,

                                              had already applied for an Agency Initiated Parole visa for

 then “Baby Doe,” and extensive communications had occurred between United States Forces-




 7  See U.S. Department of State, Afghanistan 2019 Human Rights Report, Pp. 1-2, available at
  https://www.state.gov/wp-content/uploads/2020/03/AFGHANISTAN-2019-HUMAN-RIGHTS-
  REPORT.pdf          and       at      https://www.state.gov/reports/2019-country-reports-on-human-rights-
  practices/afghanistan/, last visited October 12, 2022.

 8   Id at p. 2.

 9   See Virginia Circuit Court Transcript,



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 Afghanistan (“USFOR-A”) and relevant stakeholders to MEDEVAC Baby Doe, as Defendant

 Major Mast’s dependent, prior to the TRO’s filing.

          The representations of Defendant Richard Mast as Defendant Joshua and Stephanie Mast’s

 counsel at the 2020 TRO hearing before this Court remain both his and their understanding to date,

 and above all, their desire that all actions taken reflect Baby Doe’s best interests. This Court had

 an admittedly short time to consider a complex case with many facts, and while the Court’s ruling

 denying that requested TRO was unfortunate, it was not an adjudication on the merits, but a

 decision whether or not to issue an injunction, an admittedly high bar. Fortunately, Baby Doe

 survived the dangerous situation into which she was placed. She is again before this Court for a

 decision impacting her life and safety but is thankfully not living under the brutal rule of a terrorist

 group.

          As recorded in the February 26, 2020 TRO transcript, Defendant Richard Mast stated at

 least nine times that there was an agency initiated “parole visa” by DOD. Given the 2019 JDR

 Court Custody Order; given administrative agency personnel expressing concern about how the

 legal efforts at that time impacted the immigration process; and given the February 26, 2020 TRO’s

 request for this Court to restrain individuals within the U.S. Embassy and USFOR-A from turning

 over Baby Doe without a DNA test and terrorist vetting: Defendant Richard Mast made truthful

 representations to this Court, based on information relayed from administrative agency personnel

 about their concerns. This context shows that when questioned by this Court about “not seeking to

 adopt the child,” Defendant Richard Mast truthfully replied. The JDR Court custody order, like

 the interlocutory order, were means to the end of ensuring the safety and welfare of Baby Doe.

 The interlocutory order of adoption was sought at the request of Virginia officials who opined that

 Baby Doe’s only legal identity, i.e., a Record of Foreign Birth, could not be obtained without such


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 an order. Defendants did not even initiate that process, until asked to do so by Virginia officials.

 The interlocutory order of adoption was not a final order of adoption and was at all times subject

 to rescission or a failure to be converted into a final order of adoption. Plaintiffs were willing to

 forego adoption if requested by administrative agencies, and only remain her legal guardians. Once

 Baby Doe was placed into an objectively dangerous situation, and experienced the deprivations

 and dangers warned about in the TRO complaint, Defendants pursued completing the a doption as

 a means to providing Baby Doe with a lifeline, pending the inevitable fall of Afghanistan after it

 was abandoned to the Taliban. All actions undertaken by Defendants Joshua and Stephanie Mast

 were based on one guiding principle: taking action in the child’s best interest, and protecting her,

 within the bounds of the law. Simply because administrative agency personnel thought that a fait

 acompli had disposed of Baby Doe did not prevent the undersigned from assisting Defendants

 Joshua and Stephanie Mast in continuing all lawful efforts to act in her best interest, resulting in

 her presence in a safe and loving home in the United States.

 II.    12(b)1 Motion - This Court Lacks Subject Matter Jurisdiction Over This Case.

        Rule 12(b)1 provides a defense for “lack of jurisdiction over the subject matter” and this

 rule governs Defendant Richard L. Mast’s subject matter jurisdiction arguments. Where a motion

 under Rule 12(b)(1) “attack[s] a complaint on its face . . . [for] fail[ing] to allege facts upon which

 the court can base jurisdiction[,] . . . the court is required to accept all of the complaint’s factual

 allegations as true,” and “afford[] [the plaintiff] the same procedural protection as he would receive

 under a 12(b)(6) consideration.” Kuntze v. Josh Enterprises, Inc., 365 F. Supp. 3d 630, 636 (E.D.

 Va. 2019) (quotation marks omitted).

        a. Plaintiffs Are Not Parents and Have Not Complied With Virginia Requirements
           to Register Any Purported Foreign Order and Thus Lack Standing to Assert
           Claims for Baby Doe


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         Plaintiffs have now filed four separate lawsuits alleging much the same allegations and

 have yet to comply with the requirements of Virginia Code Sections 20-146.26 or 63.2-1200.1 to

 register a foreign custody or adoption order. Under the now defunct “Government of the Islamic

 Republic of Afghanistan,” Plaintiff had resort to the courts. Plaintiffs have admitted that neither

 “John Doe” nor his father have a foreign custody order or adoption order issued by a court of

 competent jurisdiction. See Virginia Circuit Court Transcript,                                   . And,

 Friday, November 11, the Circuit Court held that the Does did not present evidence that they were

 Baby Doe’s biological family or legal guardians under Afghan law, and that they had not

 established any fraud on the Circuit Court or by the Masts to the Does. Thus, Plaintiff John and

 Jane Doe have no standing to assert legal claims as “next friends” of Baby Doe, and this suit must

 be dismissed pursuant to Rule 12(b)(6).

         b. The Federal Courts Lack Jurisdiction Over This Child Custody Matter Under the

             “Domestic Relations” Exception.

         This federal suit is simply a ruse to gain federal district court review of state court rulings

  by heretofore unsuccessful state court litigants. This effort is impermissible under the Domestic

  Relations exception to federal court jurisdiction. Under the domestic-relations exception, federal

  courts have no power to exercise jurisdiction in “purely custodial case[s] between private parties.”

  Doe v. Doe, 660 F.2d 101, 106 (4th Cir. 1981). The Court “must be alert to keep genuinely

  domestic matters such as ‘child custody,’ out of the federal courts.” Id. at 105 (citation omitted).

  A federal district court cannot grant custody of a minor child to a party, Ankenbrandt, 504 U.S. at

  703; Cole v. Cole, 633 F.2d 1083, 1087 (4th Cir. 1980), and it must be alert to when a party

  “actually seek[s] a declaration of present and future rights as to custody” of a child. Wasserman v.

  Wasserman, 671 F.2d 832, 835 (4th Cir. 1982); see Soulsby v. Soulsby, No. 5:17-CV-0056, 2017


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  WL 2539806, at *2 (W.D. Va. June 12, 2017) (“[W]here, as here, a party is ‘seek[ing] a declaration

  of present or future rights as to custody or visitation,’ a federal court should decline to exercise

  jurisdiction.” (alteration in original) (quoting Wasserman, 671 F.2d at 835)).

         Plaintiffs are unable to “remove” their existent Virginia Circuit Court proceedings to this

  court and have tried the next best thing: an attempted removal disguised as this Amended

  Complaint. Litigants frequently attempt to remove state domestic relations actions to federal court.

  Yet, federal courts have no original jurisdiction over such actions as required by the removal

  statute. See 28 U.S.C. § 1441(a). See Griessel v. Mobley, 554 F.Supp.2d 597, 601–602

  (M.D.N.C.2008) (mag. judge's rep. & recommendation) (recommending remand of mother's state

  action against father seeking change in custody arrangement and court-ordered child support on

  the grounds that federal courts lack jurisdiction to consider matters falling within the domestic

  relations exception (citing Ankenbrandt v. Richards, 504 U.S. 689 (1992)); see also Abessolo v.

  Smith, No. 1:11–CV–00680, 2012 WL 668773, at *2–4 (S.D. Ohio 29 Feb. 2012) (mag. judge's

  rep. & recommendation) (recommending dismissal of case for lack of subject matter jurisdiction

  under domestic relations abstention doctrine).

         c. The Court Should Abstain from Hearing This Dispute Which Properly Belongs in
            State Court.
         Even if the Domestic Relations exception to federal jurisdiction did not apply, this matter

  still presents a strong case for abstention. Abstention by this Court is required because the

  underlying dispute involves child custody, a matter in which the federal courts generally do not

  encroach. See Ex parte Burrus, 136 U.S. 586, 593-94 (1890) (“The whole subject of the domestic

  relations of husband and wife, parent and child, belongs to the laws of the states, and not to the

  laws of the United States”), Moore v. Sims, 442 U.S. 415, 435 (1979) (“Family relations are a

  traditional area of state concern”). In re Rodgers, No. CIV A 506CV00071, 2006 WL 2728661, at


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  *1 (W.D. Va. Sept. 25, 2006). See also generally Elk Grove United School Dist. v. Newdow, 542

  U.S. 1, 124 S.Ct. 2301 (2004); Ankenbrandt v. Richards, 504 U.S. 689, 112 S.Ct. 2206 (1992)

  (narrowing the domestic relations exception, but affirming its continuing viability). Therefore, if

  the Court does not dismiss for want of jurisdiction, it should abstain to avoid disrupting the ongoing

  parallel Circuit Court proceeding. There, just like here, the Does ask th e Circuit Court to unwind

  the Masts’ adoption of Baby Doe and to grant the Does custody of Baby Doe. See March 2022

  Petition at p.10. This Court should abstain from hearing the case until that proceeding is completed,

  based on the principles set out by the Supreme Court in Burford and Colorado River.

  III.   Lack of Standing and Lack of Complete Diversity

         Even if Plaintiffs had authority to bring this action as “next friends” of “Baby Doe,” which

  they do not, Baby Doe must be dismissed from this case, or the case fails to have complete diversity

  between plaintiffs and defendants. “Baby Doe” is not a baby anymore. She is and has been a

  resident of North Carolina for more than a year with her parents Defendants Joshua and Stephanie

  Mast, and is fully integrated into her family. Defendant Kimberly Motley is also a resident of North

  Carolina. On November 11, 2022, the Circuit Court specifically refused to vacate the adoption

  order at this stage. Defendants Joshua and Stephanie Mast are legal parents with a Virginia Final

  Adoption Order valid on its face. The Child has never been to Texas and has not resided with

  Plaintiffs John and Jane Doe since at least September 3, 2021, if ever. Indeed, Plaintiff John Doe

  previously has stated,



                    ” See Circuit Court record,

                                                          . “To invoke the district court’s diversity

  jurisdiction, the parties must be completely diverse, meaning that none of the plaintiffs shares


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  citizenship with any of the defendants, and the amount in controversy must exceed the

  jurisdictional threshold. 28 U.S.C. § 1332; Mayes v. Rapoport, 198 F.3d 457, 461 (4th

  Cir.1999); Owens–Illinois, Inc. v. Meade, 186 F.3d 435, 440 (4 th Cir.1999).” See McFadden v.

  Fed. Nat. Mortg. Ass’n, 525 F. App’x 223, 226–27 (4th Cir. 2013). Thus, the Complaint must be

  dismissed; or at least the purported “Plaintiff” Child Baby Doe must be dismissed from the

  Complaint. Plaintiffs have no standing as “next friends” to file on Baby Doe’s behalf; and if she is

  allowed to remain, complete diversity between the Plaintiffs and Defendants fails.

  IV.     12(b)6 Motion

          a. 12(b)(6) Legal Standard

          Defendant Richard L. Mast’s argument that John Doe and Jane Doe’s claims fail as a matter

  of law is governed by Rule 12(b)(6). Under that rule, a complaint should be dismissed if it “fail[s]

  to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). To survive a Rule

  12(b)(6) motion, “a complaint must contain sufficient factual matter, accepted as true, to ‘state a

  claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

  Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “The Court must ‘assume the facts alleged

  in the complaint are true and draw all reasonable factual inferences in [the plaintiff’s] favor,’ . . .

  but only to the extent those allegations pertain to facts rather than legal conclusions.” Graham v.

  City of Manassas School Bd., 390 F. Supp. 3d 702, 708–09 (E.D. Va. 2019) (quoting Burbach

  Broad. Co. of Del. v. Elkins Radio Corp., 278 F.3d 401, 406 (4th Cir. 2002)). To survive a motion

  to dismiss under Rule 12(b)(6), the plaintiff must plead sufficient facts “to raise a right to relief

  above the speculative level” and “state a claim to relief that is plausible on its face.” Bell Atl. Corp.

  v. Twombly, 550 U.S. 544, 555, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007). A plaintiff

  establishes “facial plausibility” by pleading “factual content that allows the court to draw the


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  reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556

  U.S. 662, 678 (2009). In ruling on a 12(b)(6) motion, the court m ust accept all well-pleaded

  allegations in the complaint as true and draw all reasonable factual inferences in the light most

  favorable to the plaintiff. Ibarra v. United States, 120 F.3d 472, 474 (4th Cir. 1997). However,

  “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

  statements, do not suffice.” Iqbal, 556 U.S. at 678; see Wag More Dogs, LLC v. Cozart, 680 F.3d

  359, 365 (4th Cir. 2012) (holding the court “need not accept legal conclusions couched as facts or

  unwarranted inferences, unreasonable conclusions, or arguments.”).

         When a plaintiff alleges conspiracy, the “need at the pleading stage for allegations plausibly

  suggesting (not merely consistent with) agreement reflects the threshold requirement of Rule

  8(a)(2) that the ‘plain statement’ possess enough heft ‘to sho[w] that the pleader is entitled to

  relief.’” Twombly, 550 U.S. at 557 (quoting Fed. R. Civ. P. 8). Under Rule 9(b), allegations of

  fraud, see, e.g., Compl. ¶ 2 and more, require pleading with particularity “the time, place, and

  contents of the false representations, as well as the identity of the person mak ing the

  misrepresentation and what he obtained thereby.” Harrison v. Westinghouse Savannah River Co.,

  176 F.3d 776, 784 (4th Cir. 1999) (quoting 5 Charles Alan Wright and Arthur R. Miller, Federal

  Practice and Procedure: Civil § 1297, at 590 (2d ed. 1990)). The Court may also take judicial

  notice of matters of public record such as judicial records or government publications in a Rule

  12(b)(6) motion without converting the motion to one for summary judgment. Sec’y of State for

  Defense v. Trimble Navigation Ltd., 484 F.3d 700, 705 (4th Cir. Va. 2007) (citing Papasan v.

  Allain, 478 U.S. 265, 268 n.1 (1986))

         Here, Plaintiffs make threadbare conclusions that a Virginia Juvenile and Domestic

  Relations Court (“JDR Court”) Custody Order; a Virginia Circuit Court Interlocutory Order of


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  Adoption; and a Virginia Circuit Court Final Adoption Order are “fraudulent.” For more than ten

  months, Plaintiffs have been in litigation they themselves initiated against Defendants Joshua and

  Stephanie Mast in a Virginia Circuit Court, pleading their claims without having demonstrated

  “fraud” nor their own “standing” to even bring the suit. Plaintiffs filed suit in Circuit Court on

                2021, and that petition was dismissed on              , 2022; with Plaintiffs refiling a

  new petition that same date. The suit filed          , 2022 has seen significant evidence taken over

  almost 11 months. A substantial amount of evidence has been submitted to the Circuit Court,

  including 9 days of testimony. On Friday, November 11, the Circuit Court ruled on a series of

  threshold issues, holding that the Does did not present evidence that they were Baby Doe’s

  biological family or legal guardians under Afghan law, and that they had not established any fraud

  on the Circuit Court or by the Masts to the Does.          before filing the suit before this Court in

  the Western District of Virginia on September 2, 2022, Plaintiffs filed a suit in the Virginia JDR

  Court on            , 2022. After a hearing, that JDR Court suit was dismissed on                    ,

  2022, with Plaintiffs declining a de novo review of that decision by the Circuit Court, by failing to

  appeal. Instead, Plaintiffs have improperly pursued this action.

         b. Common Law Conspiracy Claim Fails As Matter of Law

         The “Common Law Conspiracy” claim must also be dismissed pursuant to Rule 12(b)(6).

  “Notably, a principal and his agent cannot engage in concerted action ” necessary to make out a

  claim of “conspiracy.” Schlegel v. Bank of Am., N.A., 505 F. Supp. 2d 321, 326 (W.D. Va. 2007)

  Mich. Mut. Ins. Co. v. Smoot, 128 F.Supp.2d 917, 925 (E.D.Va.2000) (“Generally, an agent cannot

  conspire with its principal.”). “From the outset, this rule of law is a significant obstacle for a

  plaintiff claiming that a lawyer conspired with [his] client, because an attorney is the agent of the

  client. See Perk, 485 S.E.2d at 142, 144 (affirming the legal impossibility of a conspiracy between


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  defendant lawyer and client based on principal-agent relationship).” Seligman v. Tenzer, No.

  7:04CV00044, 2005 WL 8177290, at *1 (W.D. Va. Jan. 31, 2005).

                  Generally, an agent cannot conspire with its principal. See Fox v.
         Deese, 234 Va. 412, 362 S.E.2d 699, 708 (1987). The [plaintiff] attempts to counter
         this rule by citing Anderson v. Canaday, 37 Okla. 171, 131 P. 697, 700 (1913),
         and Nicoleau v. Brookhaven Memorial Hospital Center, 181 A.D.2d 815, 816, 581
         N.Y.S.2d 382 (1992), for the proposition that an attorney can be liable to a third
         person if the attorney acts tortiously or maliciously, or acts upon illegal motives.
         Assuming arguendo that the cases apply, the Attorneys are not liable here, because
         they did not act illegally or maliciously in collecting their fees and
         costs. See DuBrueler v. Hartford Fire Insurance Co., 4 Va. Cir. 135, 1983 WL
         210333, *2 (1983) (stating that an attorney is not liable for conspiracy where
         the attorney has not performed a self-interested activity that went beyond the
         scope of the attorney’s practice of law) (citing Worldwide Marine Trading Corp.
         v. Marine Transport Service, Inc., 527 F.Supp. 581, 583 (E.D.Pa.1981)). The Court
         need not accept the [plaintiff ’s] conclusory statement in the Complaint that the
         Attorneys acted willfully and maliciously. See Volpone v. Caldera, 190 F.R.D. 177,
         180 (E.D.Va.1999) (finding that a Court need not accept unsupported,
         conclusory allegations).

  See Michigan Mut. Ins. Co. v. Smoot, 128 F. Supp. 2d 917, 925 (E.D. Va. 2000) (emphasis added).

         Under Virginia law, as attorney for Defendants Joshua and Stephanie Mast, Defendant

  Attorney Richard L. Mast was acting as their agent in filing the 2019 Virginia JDR Court Petition,

  and the later Virginia Circuit Court petition. As attorney and agent, Richard Mast could not

  “conspire” with his principals. Furthermore, Attorney Richard L. Mast

       reviewed the original 2019 Petition before the Virginia JDR Court, and

       signed it. Conclusory allegations of “conspiracy” in the Does’ original and Amended

  Complaint are insufficient to survive a 12(b)(6) motion.

         Neither Richard L. Mast nor                                               acted tortiously,

  maliciously, or with illegal motives. Indeed, Defendant Richard Mast’s motives were eminently

  reasonable and lawful: it was objectively dangerous for bureaucrats                           , far

  removed from the tactical intelligence and conditions at the objective where Baby Doe was


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  recovered, in a war-torn country, with a government noted for its corruption and human rights

  abuses, to seek to turn the approximately 9-month-old Baby Doe over to what was then at least the

  third rumor of an “uncle” claiming relationship to the Child. Actual facts, then and now, show

  Baby Doe was recovered on a mission by U.S. Special Forces

                                                             ;10 who was critically injured

                      , 11 whom at least one                                                  , 12 who

  would need follow-up medical care), in the middle of winter, in a war zone, without at least 1) a

  DNA test to prove familial relationship by the claimant; and 2) vetting the claimant for terrorist

  ties.

             At the time the 2019 JDR Petition was signed by Defendant Richard Mast, that objectively

  unreasonable decision had not yet been imposed on Baby Doe. USFOR-A leaders in-theatre

  wanted to protect Baby Doe and were supportive of Defendant Joshua Mast’s actions through

  Defendant counsel to secure a legal identity for the Child and provide follow-on care and safety in

  America. Claims by Plaintiffs of a “conspiracy” because the “Masts knew or should have known”

  that “evidence would be in Afghanistan and made available to ICRC and the Afghan government’s

  Ministry of Labor and Social Affairs” or was otherwise supposedly not available in Virginia are

  likewise belied by information from multiple sources available to the Virginia court (no less




  10   See Virginia Circuit Court Transcript,

                        .

  11   See
                                  .

  12   See Circuit Court Transcript,


                                                                                ;
                                                   15
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  authority than the Department of Defense, among others), including information set forth in the

  State Department’s “AFGHANISTAN 2018 HUMAN RIGHTS REPORT” (“2018 State

  Department Report”). Defendant Richard Mast relied upon information from this report and others

  in signing the pleadings and in making his arguments.

         Statelessness was then and remains an acute problem in Afghanistan, and has been

  recognized in all State Department Reports for the years 2014-2021. In its 2019 and 2020 Reports,

  the State Department recognized that there is significant “Abuse of…Stateless Persons.” The

  State Department’s 2017-2021 reports state that “NGOs noted the lack of official birth

  registration for refugee children as a significant challenge and protection concern, due to the

  risk of statelessness and potential long-term disadvantage.” (Emphasis added). Children

                   who are orphaned like Baby Doe are exposed to an even greater extent to these

  same issues of “statelessness and potential long-term disadvantage.” Defendant Richard Mast was

  aware of these dangers while advocating for Baby Doe’s best interests.

         The State Department recognized that Afghanistan’s “[s]ignificant human rights issues

  included: “extrajudicial killings by security forces; forced disappearances by security

  forces…reports of torture by security forces… arbitrary detention by government security forces…

  government corruption; lack of accountability and [lack of] investigation in cases of violence

  against women … sexual abuse of children, 13 including by security force members and

  educational personnel; trafficking in persons” and much more. 14 The State Department noted,

  “Widespread disregard for the rule of law and official impunity for those responsible for



  14 See U.S. Department of State, Afghanistan 2019 Human Rights Report, Pp. 1-2, available at
  https://www.state.gov/wp-content/uploads/2020/03/AFGHANISTAN-2019-HUMAN-RIGHTS-
  REPORT.pdf          and       at      https://www.state.gov/reports/2019-country-reports-on-human-rights-
  practices/afghanistan/, last visited October 12, 2022.

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  human rights abuses were serious, continuing problems. The government did not prosecute

  consistently or effectively abuses by officials…”15 16 (Emphasis added).

             In Afghanistan in 2019, organs and ministries of the now-defunct “Government of the

  Islamic Republic of Afghanistan” making decisions impacting Baby Doe were likewise not beyond

  “government corruption,” “lack of accountability” and “[lack of] investigation;” “official

  impunity” for “abuses” “were serious, continuing problems.” Neither GIROA officials nor local

  employees of the International Committee of the Red Cross (“ICRC”) were exempt from pressures

  to falsely identify “family” at either the behest of actors within the Embassy or the Taliban.17

  Contrary to Plaintiffs claims, ICRC was not above-the-fray in Afghanistan. For example, the State

  Department reported that the Taliban in April 2019 “banned the activities of … the ICRC

  throughout the country,” with no vaccination campaigns being carried out by ICRC at all “in the

  second quarter of the year.”18 (Emphasis added). ICRC vaccination activities were not the only

  ICRC activities susceptible to manipulation by                                              threats against

  ICRC and affiliated personnel. “NGOs reported insurgents…demanded bribes to allow groups

  to bring relief supplies into the country and distribute them. Antigovernment elements continued




  15   Id at p. 2.


  17This includes relying upon “evidence” like the self-certifying “Confession Letter of [Plaintiff John Doe’s
  father]” and the “certification” of alleged family relationship via the fingerprints and signatures of
  individuals from the very district in the province that was an epicenter of Taliban activity; not performing
  a DNA test to verify family relationship and not finalizing with an Afghan Court order (not a mere agency’s
  action), consistent with Plaintiff’s own Afghan law expert witness testimony, and by the testimony of the
  relevant Afghan Minister which flatly contradicted claims made in documents over his signature.

  18 See U.S. Department of State, Afghanistan 2019 Human Rights Report, Pp. 17, available at
  https://www.state.gov/wp-content/uploads/2020/03/AFGHANISTAN-2019-HUMAN-RIGHTS-
  REPORT.pdf          and       at      https://www.state.gov/reports/2019-country-reports-on-human-rights-
  practices/afghanistan/, last visited November 14, 2022.

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  their targeting of hospitals and aid workers.” 19 20 (Emphasis added). In addition to being

  susceptible to Taliban and terrorist threats, the ICRC has also has had its own self-inflicted

  problems with human rights abuses21 and corruption (fraudulently overpriced supplies; “salaries

  for non-existent aid workers;” “Red Cross staff apparently colluded with local bank workers”).22

  Given these realities, and given the ICRC’s policy of strict “confidentiality” (with no

  accountability or oversight – and yet a lack of access to classified U.S. military intelligence) in

  claiming to have found purported family members, and given the circumstances of Baby Doe’s

  recovery                                                  , and given the strength of DOD intelligence

  that                                          , Defendant Richard Mast reasonably believed that ICRC

  claims and GIROA claims of finding “family” were false. This belief has been strengthened by the

  last ten months of litigation, including the Circuit Court’s November 11, 2022 holding that the

  Does did not present evidence that they were Baby Doe’s biological family or legal guardians

  under Afghan law. Plaintiff’s claims of a “conspiracy” because of allegations that “Joshua and

  Stephanie Mast and Richard Mast were aware that ICRC would be searching for [the Child’s]

  biological family in Afghanistan” cannot survive a Rule 12(b)6 motion.




  19 Id.   at p. 17.

  20 See U.S. Department of State, Afghanistan 2018 Human Rights Report, Pp. 16, available at
  https://www.state.gov/reports/2018-country-reports-on-human-rights-practices/afghanistan/ and at
  https://www.state.gov/wp-content/uploads/2019/03/AFGHANISTAN-2018.pdf, last visited November 14,
  2022.

  21 See, e.g., “Red Cross reveals 21 staff paid for sexual services,” 24 February 2018,
  https://www.bbc.com/news/world-europe-43180606, last visited October 12, 2022.
  22 See, e.g., “Red Cross apologise[s] for losing $5m of Ebola funds to fraud,” 3 November, 2017,
  https://www.bbc.com/news/world-africa-41861552, last visited October 12, 2022.

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             In support of their common law conspiracy claim, the Plaintiffs’ also claim that the “Masts

  knew or should have known that [the Child’s] nationality was Afghan under Afghan law.” In

  support of this claim, Plaintiffs cite a specially designated terrorist organization, i.e., the Taliban,

  as their legal authority for this position. See, e.g., Compl. ¶ 47, FN 5, (“Law on the Citizenship of

  the Islamic Emirate of Afghanistan”) (Compare with the position of the United States: “the Islamic

  Emirate of Afghanistan which is not recognized by the United States as a state and is known as the

  Taliban”).23 Plaintiff’s claim of “found on the ground” citizenship is again rebutted by the State

  Department 2019 Report (“Birth in the country or to a citizen mother alone does not transfer

  citizenship”), 24 and has been rebutted in testimony before the Virginia Circuit Court from

  Plaintiffs’ own

                                                                                                       ),25

  from testimony by the relevant                        ; 26 and from testimony of eyewitness




  23See U.S. Department of State, Agreement For Bringing Peace to Afghanistan, 29 February 2020,
  available   at   https://www.state.gov/wp-content/uploads/2020/02/Agreement-For-Bringing-Peace-to-
  Afghanistan-02.29.20.pdf, last visited October 12, 2022.
  24 See U.S. Department of State, Afghanistan 2019 Human Rights Report, page 35, available at
  https://www.state.gov/wp-content/uploads/2020/03/AFGHANISTAN-2019-HUMAN-RIGHTS-
  REPORT.pdf          and       at      https://www.state.gov/reports/2019-country-reports-on-human-rights-
  practices/afghanistan/, last visited October 12, 2022.
  25   See Virginia Circuit Court Transcript,




  26
       See Virginia Circuit Court Hearing Transcript,


                                                                            (pg. 85-86).

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           Plaintiffs allege that the only plausible reason the JDR Court could have issued its order

  was pursuant to conclusory allegations of “fraud” and the existence of a “conspiracy.” Defendant

  Richard Mast                                                                                    .



                                              .

                                                                                   , all before filing, and

  before Defendant Richard Mast personally appeared before the JDR Court to argue for the Custody

  Order.                                                         of either Defendant Richard Mast or

  Defendants Joshua and Stephanie Mast. Richard Mast                                    reviewed the 2019

  JDR petition for the proper purpose of making a claim to save a child under existing law or in

  arguing for a good faith extension thereof.

           The mere supposition of the Plaintiffs Doe that Defendant Richard Mast was “conspiring”

  with other Defendants; or speculation as to what conclusions the JDR Court would or would not

  have arrived at does not amount to “more than a sheer possibility that a defendant has acted

  unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Accordingly, the Amended Complaint's

  baseless allegation that a conspiracy existed among the Defendants is insufficient to survive a Rule

  12(b)(6) motion. Id. at 679 (“[W]here the well-pleaded facts do not permit the court to infer more

  than the mere possibility of misconduct, the complaint has alleged—but it has not ‘show[n]’—

  ‘that the pleader is entitled to relief.’ ”) (quoting Fed. R. Civ. Pr. 8(a)).” For this case to go forward

  on the strength of these conclusory allegations would indeed convert Plaintiffs’ (other) “failed

  lawsuit into a subsequent conspiracy case against the lawyers. Such an absurd result is completely

  inappropriate.” Tomasello v. Greenzweig, 461 F. Supp. 3d 302, 318 (E.D. Va. 2020).




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         Whether the 2019 JDR Petition was served on the DOD or not (an alleged procedural

  deficiency) does not convert a good-faith filing for a proper purpose into a “conspiracy,” nor does

  it constitute “fraud.” In any event, DOJ had actual knowledge of the 2019 JDR Petition no later

  than February 26, 2020, when Defendant Richard Mast filed a suit in the Western District of

  Virginia requesting a TRO, seeking to have DOD restrained from turning over Baby Doe to a

  person desiring to remain anonymous to the U.S. Government, without DNA testing and without

  vetting for terrorist affiliations. Despite DOJ counsel’s opinions that the 2019 JDR custody order

  was “unlawful,” “deeply flawed and incorrect,” “should have been formally served” or otherwise,

  counsel should have filed an appearance before the Virginia JDR Court or Virginia Circuit Court

  and argued their position. They chose to sleep on their rights and trust that a fait accompli had

  placed Baby Doe beyond the protections sought for her. DOJ Counsel’s opinions communicated

  to this Court in a TRO proceeding nearly three years ago are by definition not evidence at all, much

  less evidence of a “conspiracy.” The decision by the DOJ not to file a statement of interest or an

  appearance to the relevant Virginia courts at the appropriate time does not create a “conspiracy”

  on the part of Defendant Richard Mast. Attorneys routinely advocate for their clients’ interests in

  an adversarial system. Contrary to Plaintiff’s claims, Defendant Richard L. Mast had a good faith

  basis in law and facts for all representations made to this Court and all other courts.

         Because an agent cannot conspire with his principal, and because Plaintiffs John and Jane

  Doe have not demonstrated Defendant Richard L. Mast acted willfully or malicious ly or with

  illegal purpose, Plaintiffs common law conspiracy claim must be dismissed.

         c. Allegedly False USCIS Report:

         Plaintiffs John and Jane Doe claim that Defendant Richard Mast emailed U.S. Citizenship

  and Immigration Services (“USCIS”) a Form I-360 Petition for Plaintiff John Doe, and that


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  Richard Mast “falsely wrote: ‘[John and Jane Doe] are helping US DoD at great risk to themselves,

  and have cared for a minor DoD dependent child ([Baby Doe]) who has serious medical needs’.”

  At the time Defendant Richard Mast wrote this email, Major Joshua Mast in multiple conversations

  had explained to Plaintiff John Doe through an interpreter that he had obtained legal responsibility

  for the Child, and that she was a DOD military dependent eligible for evacuation. Plaintiff John

  Doe has admitted to registering her using Baby Doe’s military ID card. The Child is still recognized

  by DoD as Defendant Joshua Mast’s “DOD Dependent,” as Defendant Joshua Mast has a valid

  final Virginia adoption order, which the Circuit Court on November 11, 2022 specifically refused

  to vacate. Defendant Joshua Mast fully informed Plaintiff John Doe of all of this while “John Doe”

  was still in Afghanistan. Based on what “John Doe” told Defendant Joshua Mast through an

  interpreter and through recorded voice messages, Defendant Richard Mast understood that John

  Doe had disobeyed the Taliban at great personal risk. This understanding was based on multiple

  data points, including what Plaintiff John Doe has now verified in state court testimony, and in at

  least one contemporaneous voice message. In testimony, [John Doe] stated:




                            See Virginia Circuit Court Transcript, June 8, 2022, Page 587-588, Lines

  16-25;1-11.

         Moreover, “John Doe” stated in a contemporaneous voice message to Defendant

                           (after “John Doe” was evacuated by the helicopter-borne U.S. Special


                                                  23
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  Forces team that was sent to recover Defendant Joshua Mast’s US DOD dependent Child, after

  “John Doe” was safely within the grounds of Hamid Karzai International Airport (“HKIA”), after

  “John Doe” was under the full protection of the U.S. Military, boarding a U.S. Military plane to

  fly out of Afghanistan and after his goal of reaching America for economic opportunity was all but

  assured):




         See Virginia Circuit Court,

                                     (Emphasis added). Photos of John Doe and Jane Doe and the

  Child out of the 120,000 people being evacuated are a “huge danger” only if the Taliban knows

  John Doe’s identity. Whether Plaintiff was lying then about the Taliban or lying now to distance

  himself from a terrorist organization is immaterial, as Defendant Richard Mast and the others

  reasonably relied upon his representations. See Virginia Circuit Court Transcript, September 9,

  2022, Page 1915, Line 4.

                                              CONCLUSION

         Federal courts have long held that this Court cannot award the relief demanded by Plaintiffs

  John and Jane Doe. This Court should dismiss the Complaint because it lacks jurisdiction to hear

  this case. The Does have no legal authority to assert claims on behalf of Baby Doe. There is lack

  of complete diversity between all parties. The domestic-relations exception to federal jurisdiction

  precludes the Does’ claims. The Court should abstain under Burford v. Sun Oil Co., 319 U.S. 315

  (1943), and Colorado River Water Conservation Dist. v. United States, 424 U.S. 800 (1976). Even



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  if the Court did have jurisdiction (which it does not), the Court should dismiss the Complaint

  because the Does have failed to state a claim for which relief can be granted.



  Dated: November 14, 2022                               Respectfully submitted,

                                                        /s/ Richard L. Mast
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